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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )       Criminal No. 1:21-cr-00040-TNM
                       v.                         )
                                                  )
 FREDERICO GUILLERMO KLEIN,                       )
                                                  )
                  Defendant.                      )
                                                  )

                 RESPONSE TO GOVERNMENT’S MOTIONS IN LIMINE

       The government’s Motions in Limine seek the exclusion of irrelevant evidence, to which

Defendant Federico (a/k/a “Freddie”) Klein does not object. Specifically, Mr. Klein does not

object to the government’s request to limit cross examination of any potential secret service

witnesses. See Mot. In Limine (June 3, 2022) (ECF No. 313). Nor does he object to the

government’s request to limit evidence concerning the specific locations of U.S. Capitol Police

surveillance cameras where the same is not relevant to Mr. Klein’s defense. See Mot. In Limine

(June 3, 2022) (ECF No. 314). Mr. Klein does, however, reserve the right to introduce any such

evidence to the extent the same is made relevant by the government’s case-in-chief. Should Mr.

Klein desire to do so, he does not object to the Court’s in camera consideration of the same.

       With respect to the government’s Motion in Limine to preclude any claim of self-defense

by Mr. Klein (June 3, 2022) (ECF No. 327), the Court should deny the same given that it is

premature for Mr. Klein to advise the government whether evidence sufficient to warrant an

instruction of self-defense will have been presented at trial. Mr. Klein is not set to begin his trial

for nearly three (3) months and his investigation of the facts and circumstances giving rise to the

government’s charges is ongoing. While the government’s characterization of the evidence it

purports to have as against Mr. Klein is salacious, even if true, it does not preclude Mr. Klein
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from asserting that he acted in self-defense. Only after the evidence in Mr. Klein’s case has been

presented to the jury can the Court determine whether a self-defense instruction is warranted. To

that end, Mr. Klein has no objection to refraining form making any such argument absent

advanced approval of the Court.

                                         CONCLUSION

       For the foregoing reasons, Mr. Klein does not now oppose the government’s June 3,

2022, Motions in Limine to exclude irrelevant evidence (ECF Nos. 313 and 314) and further

opposes the government’s June 3, 2022, Motion in Limine to preclude any claim of self defense

while reserving the right to revisit the issue should evidence of the same warrant a self-defense

instruction.

                                [SIGNATURE ON NEXT PAGE]



 Dated: July 15, 2022                       Respectfully submitted,

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                            FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )       Criminal No. 1:21-cr-00040-TNM
                        v.                         )
                                                   )
 FREDERICO KLEIN,                                  )
                                                   )
                  Defendant.                       )
                                                   )

                                  CERTIFICATE OF SERVICE

        On July 15, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

                                                       /s/ Stanley E. Woodward, Jr.
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